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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF GEORGIA
MACON DIVISION

DAVID JOHNSON,

 

CIVIL ACTION FILE NO.
5:06-CV-00366-HL

Plaintiff,
Vv.
BOARD OF REGENTS OF THE
UNIVERSITY SYSTEM OF GEORGIA
and GEORGIA COLLEGE AND STATE
UNIVERSITY,

Defendants.

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CONSENT PROTECTIVE ORDER

The parties in this action have agreed to produce documents
that contain confidential and/or sensitive information regarding
Plaintiff David Johnson (“Plaintiff”) and/or confidential,
proprietary and/or sensitive information regarding non-parties
(including information related to Defendants’ current and/or
former employees of Defendants). Plaintiff and Defendants have
agreed to produce such relevant, non-objectionable documents
responsive to discovery requests that contain such confidential,
proprietary and/or sensitive information, so long as all parties
agree to limit such use of information solely to this action and
in strict accordance with the terms and conditions of this
Consent Protective Order. Therefore, to preclude discovery

disputes and to protect against the unauthorized dissemination
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and use of such information disclosed through discovery in this
action, the parties, through counsel, hereby voluntarily agree
and stipulate to the entry of this Consent Protective Order.

Accordingly, the parties to this action having consented to
this Protective Order, and for good cause shown, IT IS HEREBY
ORDERED THAT:

1.

As used herein, the word “document” means (a) all papers,
documents, and printed and written materials (including
electronically stored materials) produced or furnished by, or
obtained by Plaintiff or Defendant during the course of this
Matter through discovery; (b) all copies, extracts, and complete
or partial summaries prepared from such papers or documents; (c)
portions of deposition transcripts and exhibits thereto which
relate to, contain, or incorporate by reference any such papers,
documents, copies, extracts, or summaries; (d) portions of
briefs, memoranda, or any other writings, filed with the Court,
and exhibits thereto, which relate to, contain, or incorporate
by reference any such papers, documents, copies, extracts, or
summaries; and (e) not any materials which in the good faith

judgment of counsel are privileged or work product materials.
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All documents produced and information furnished by
Plaintiff or Defendants which are designated “CONFIDENTIAL” by
the producing party shall be treated as such by all persons to
whom such documents are disclosed. The non-producing party (ies)
may also designate documents produced by the opposing party (ies)
as confidential. Plaintiff and Defendants agree to exercise
good faith in designating documents as “CONFIDENTIAL”. Such
confidential documents, and all copies, summaries, compilations,
notes, or abstracts, shall be used exclusively in this action
and for no other purpose. Any documents designated as
“CONFIDENTIAL” pursuant to this Order may not be disclosed
wholly, in part, or in substance to persons not parties to this
lawsuit except as set forth below.

3.

If any confidential document is used during any deposition,
the deposition or relevant portions thereof (as designated by
agreement of counsel) shall be treated as confidential in
accordance with paragraph 2, supra.

4.

Documents, other materials and deposition testimony
designated as “CONFIDENTIAL” pursuant to the terms of this Order
may be used only in connection with this case and may be

disclosed only to the following persons:

 
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(a)To the parties’ respective counsel of record, their
associated attorneys, and their regularly employed
support staff, including paralegal and clerical
personnel, who have a need to review the documents or
other materials to aid in the preparation of this case;

(b)To Plaintiff and the officers and/or managerial
employees of named Defendants provided that they have a
reasonable need to know the “Confidential Information” in
order to participate in litigation decision-making on
behalf of the Defendants;

(c)To the United States District Court for the Middle
District of Georgia, Macon Division, and any court of
competent appellate jurisdiction, as well as_ court
personnel, including stenographic reporters regularly
employed by the court;

(d)To other stenographic reporters as are necessarily
incident to the conduct of this action; and

(e)Only on an as needed basis, to witnesses or prospective
witnesses or other persons requested by counsel to
furnish technical, consulting, or other expert services,
provided that such witnesses agree not to disclose this
information to any party or person outside this
litigation and agree to be bound by this Consent

Protective Order.

 

 
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5.

Prior to disclosure to potential witnesses for Plaintiff or
Defendants (other than current managerial employees of
Defendants) of documents or other materials designated as
“CONFIDENTIAL” pursuant to this Order, counsel shall show the
witness a copy of this Order and secure his or her written
agreement to be bound by the terms of this Order. Such written
agreement shall take the form of the acknowledgement attached
hereto as Exhibit A.

6.

All documents, transcripts or other materials afforded
confidential treatment pursuant to this Order and in the
possession of the parties or their counsel, including any
extracts, summaries or compilations taken therefrom, but
excluding any materials which in the good faith judgment of
counsel are work product materials, shall be returned to the
producing party’s counsel within sixty (60) days after the final

resolution of this matter.

7.
Any document or portions of any document, answers to
written discovery or hearing or deposition transcripts filed

with the Court for any purpose and identified as containing

 
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Confidential Information, or any pleading, motion or brief with
the Court containing or disclosing Confidential Information
shall be filed in sealed envelopes on which shall be endorsed
the title of this action, an indication of the nature of the
contents of such envelope, the identity of the party filing the
materials, the word “Confidential”, and an indication that the
envelope contains documents subject to the Order entered in this
action, and shall not be opened nor the contents displayed,
revealed or made public, except by order of the Court.
8.

The provisions of this Order will not affect the
admissibility of evidence at trial or any preliminary
evidentiary proceeding in open court, except as directed by
separate order entered for good cause shown.

9.

Nothing in this Order shall prevent any party from seeking
modification of this Order or from presenting a motion to the
Court for a separate protective order as to any particular
document or information.

10.

All confidential documents or information produced by the

parties over the course of the above-referenced action shall be

subject to the provisions hereof unless or until:

 
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1. The parties jointly withdraw such designation in
writing; or

2. The Court rules the material is not Confidential
Information.

11.

All provisions of this Consent Order restricting the
communication or use of Confidential Information shall continue
to be binding after the conclusion of the above-styled action,
unless otherwise agreed in writing or ordered. Upon conclusion
of this action, a Party in possession of Confidential
Information, other than that which is contained in pleadings or
correspondence, shall either:

1. return such documents, no later than thirty (30) days
after conclusion of this action, to counsel for the
providing party; or

2. destroy such documents within the time period and
certify in writing within thirty (30) days that the

documents have been destroyed.

SO ORDERED this SK] 007.
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UNITED STATES DISTRICT COURT JUDGE
CONSENTED TO BY:

Attorney for Plaintiff: Attorneys for Defendant:
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s/Jonathan E. Green

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DAVID JOHNSON,

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UNIVERSITY,

Defendants.

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WITNESS ACKNOWLEGMENT OF CONSENT PROTECTIVE ORDER
I have reviewed the Consent Protective Order entered in the
above referenced case. I understand the Consent Protective
Order and agree to abide by its terms.
Signed this __ day of , 2007.

[printed name]

 

[address]

 

(address, cont.]

 

[telephone number

 

(s) ]

[signature]

 

 
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CERTIFICATE OF SERVICE
I hereby certify that on June 28, 2007, I
electronically filed the foregoing CONSENT PROTECTIVE ORDER
with the Clerk of Court using the CM/ECF system, which will
send notification of filing to the following CM/ECF
participant:

Steven G. Hall
Jonathan E. Green
Gambrell & Stolz LLP
Monarch Plaza

3414 Peachtree Road
Suite 1600

Atlanta, Georgia 30326

This 28th day of June, 2007.

s/Laura W. Hyman

LAURA W. HYMAN

State Bar No. 681655

Department of Law, State of Georgia
40 Capitol Square, S.W.

Atlanta, Georgia 30334-1300

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